       Case: 1:23-cv-00720-DAP Doc #: 14 Filed: 08/14/23 1 of 4. PageID #: 136




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVIS ION

     MARCELLUS GILREATH
                                                     Case No.: 1:23-cv-00720-DAP
                    Plaintiff,
               v.                                    Judge Dan Aaron Polster
     PAMELA MCGUINEA, et al.
                                                     Magistrate Judge Jonathan D. Greenberg
                    Defendants.


                          REPORT OF PARTIES’ PLANNING MEETING
                         UNDER FED.R.CIV.P. 26(F) AND LR 16.3(B)(3)



1.      Pursuant to Fed.R.Civ.P. 26(f) and LR 16.3(b)(3), a meeting was held on August 10–14,
        2023, and was attended by:
        Brian D. Bardwell             , Counsel for plaintiff _Marcellus Gilreath

        Michael J. Stewart, Jake Elliott, Counsel for defendant(s) McGuinea, Cuyahoga County

2.      The parties:
                 have not been required to make initial disclosures.

                 have exchanged the pre-discovery disclosures required by Fed.R.Civ.P. 26(a)(1)
                 and the Court’s prior order;

           X     will exchange such disclosures by: August 18, 2023                                .

3.      The parties recommend the following track:
                 Expedited                      X     Standard                      Complex

                Administrative                        Mass Tort

4.      This case is suitable for one or more of the following Alternative Dispute Resolution
        (ADR) mechanisms:
        Plaintiff’s position is that the case is suitable for mediation. Defendants’
        position is that after initial CMC, may be suitable for mediation after a period
        of discovery.

                 Early Neutral Evaluation              Mediation                     Arbitration

                 Summary Jury Trial                    Summary Bench Trial

                 Case not suitable for ADR
     Case: 1:23-cv-00720-DAP Doc #: 14 Filed: 08/14/23 2 of 4. PageID #: 137




5.    The parties            do     X       do not consent to the jurisdiction of the United
      States Magistrate Judge pursuant to 28 U.S.C. § 636(c).
6.    The parties agree that this case   X     does        does not involve electronic
      discovery.
7.    Recommended Discovery Plan (Counsel are reminded to review the default standard for
      e-discovery set forth in Appendix K to the Local Rules):
      (a)    Describe the subjects on which discovery is to be sought, the nature and extent
             of discovery and any potential problems:
             Plaintiff intends to conduct discovery on all claims and defenses.
             Discovery is likely to focus in particular on the facts forming the basis
             for probable cause supporting the criminal charges against him.

             Defendant intends to conduct paper and deposition discovery concerning
             the circumstances of Plaintiff’s guilty plea in 2012 and alleged damages.

      (b)    Describe anticipated e-discovery issues (i.e., what ESI is available and where it
             resides; ease/difficulty and cost of producing information; schedule and format
             of production; preservation of information; agreements about privilege or
             work-production protection, etc.):
             Significant ESI—particularly email communications, relevant to
             Cuyahoga County Job and Family Services—is maintained by the State
             of Ohio.

             Plaintiff expects to direct subpoenas for this evidence directly to the
             State. Plaintiff will provide to Defendants all documents received in
             response to subpoenas.

      (c)    Describe handling of expert discovery (i.e., timetable for disclosure of names
             and exchange of reports, depositions):
             To contain costs, Plaintiff proposes postponing expert discovery, with
             experts—if necessary—to be identified within seven days of the Court’s
             has ruled on any motions for summary judgment, primary expert
             reports to be exchanged 30 days after those rulings, responsive expert
             reports due 45 days after those rulings, and expert depositions to be
             completed 60 days after those rulings.

             Defendants propose that Plaintiff’s expert(s) and report(s) pursuant to
             Fed.R.Civ.P. 26(a)(1)(B) to be served 90 days after the Court’s ruling on
             Defendants’ pending motion to dismiss. Defendants’ expert(s) and
             report(s) pursuant to Fed.R.Civ.P. 26(a)(1)(B) to be served 120 days
             after the Court’s ruling on Defendants’ pending motion to dismiss.
             Expert depositions to be completed 180 days after Court’s ruling on
             Defendants’ pending motion to dismiss.

             If the Court adopts Plaintiff’s proposed expert discovery schedule,


                                             Page 2 of 3
      Case: 1:23-cv-00720-DAP Doc #: 14 Filed: 08/14/23 3 of 4. PageID #: 138




              Defendants reserve the right to identify and rely upon their own experts
              on summary judgment.

       (d)    Discovery Deadlines:
              To avoid delays, Plaintiff proposes that the Court open discovery upon
              issuing a case-management order. Non-expert discovery should be
              completed within 120 days of that order, and expert discovery to be
              completed as laid out above.

              Defendants propose that discovery be stayed pending the Court’s ruling
              on Defendants’ pending motion to dismiss. All discovery (except expert
              depositions) to be completed 120 days after Court’s ruling on
              Defendant’s’ pending motion to dismiss. Expert depositions to be
              completed 180 days after Court’s ruling on Defendants’ pending motion
              to dismiss.

8.     Recommended dispositive motion date:
       Plaintiff proposes a dispositive-motion deadline of 14 days after the close of
       non-expert discovery.

       Defendants propose 180 days after Court’s ruling on Defendants’ pending
       motion to dismiss.

9.     Recommended cut-off for amending the pleadings and/or adding additional parties:
       Plaintiff proposes cutting off amendments 90 days after discovery opens.
       Defendants propose September 15, 2023.

10.    Recommended date for status hearing and/or final pretrial settlement conference:
       Plaintiff proposes a final pretrial settlement conference on 14 days after the
       close of expert discovery.

       Defendants propose a status conference on January 8, 2024.

11.    Other matters for the attention of the Court:
12.    Per the Court’s order of July 24, 2023, Plaintiff made an initial demand on August 13,
       2023. Defendants expect to submit a counteroffer within days.




                                            Page 3 of 3
     Case: 1:23-cv-00720-DAP Doc #: 14 Filed: 08/14/23 4 of 4. PageID #: 139




Respectfully submitted,

/s/Brian D. Bardwell                               /s/Michael J. Stewart
Speech Law LLC                                     Michael J. Stewart (0082257)
Brian D. Bardwell (0098423)                        mjstewart@prosecutor.cuyahogacounty.us
1265 West Sixth Street, Suite 400                  (216) 443-6673
Cleveland, OH 44113-1326                           Jake A. Elliott (0093521)
216-912-2195 Phone/Fax                             jelliott@prosecutor.cuyahogacounty.us
brian.bardwell@speech.law                          (216) 443-5756
Attorney for Plaintiffs Johnny Plaintiff and       Cuyahoga County Prosecutor's Office
Jane Plaintiff                                     The Justice Center, Courts Tower
                                                   1200 Ontario Street, 8th Floor
                                                   Cleveland, OH 44113
                                                   Fax: (216) 443-7602
                                                   Attorneys for Defendants Cuyahoga County
                                                   and Pamela McGuinea




                                          Page 1 of 1
